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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT


BRUCE KIRBY, et al.
    Plaintiffs,
                                                   Civil Action No. 3:13-cv-00297-JAM
               vs.


LASERPERFORMANCE(EUROPE), LIMITED,
et al.,
        Defendants.



                     JOINT MOTION FOR ENTRY OF JUDGMENT


       Plaintiff Global Sailing, Limited and Defendants Quarter Moon, Incorporated and
LaserPerformance(Europe), Limited consistent with F.R.C.P. including 68(a), and 68(c)
jointly move the court to enter a judgment of $754,609.28 consistent with the terms of a
Settlement Agreement dated June 15, 2020, fully executed June 26, 2020, and in light of
the Affidavit for Judgment By Confession, attached herewith.



Respectfully Submitted,                        Date: July 15, 2020


/s/ J. Kevin Grogan                            /s/ Douglas S. Skalka
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                                               Laser Performance(Europe), Limited and
                                               Quarter Moon, Incorporated
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                              CERTIFICATE OF SERVICE


       I hereby certify that on 15 July 2020, a true copy of the foregoing “JOINT
MOTION FOR ENTRY OF JUDGMENT” was filed electronically and served by mail
on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to
all parties by operation of the court’s electronic filing system or by mail to anyone unable
to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the court’s CM/EFC System.



                                                  Date: July 15, 2020


                                                  /s/ J. Kevin Grogan
                                                  J. Kevin Grogan (ct00331)
                                                  Jeffrey E. Schiller (pro hac vice)
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